     Appellate Case: 23-1380       Document: 98        Date Filed: 08/23/2024      Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                              Jane K. Castro
Clerk of Court                                                                  Chief Deputy Clerk
                                       August 23, 2024


To District Court Clerk and Counsel of Record

RE:        23-1380, Rocky Mountain Gun Owners, et al v. Polis
           Dist/Ag docket: 1:23-CV-02563-JLK

Dear Clerk and Counsel:

Please be advised that the court issued an order today dismissing this case.

In addition, pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's
mandate issued today, and the court's judgment takes effect. With the issuance of this
letter, jurisdiction is transferred back to the lower court/agency.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court




CMW/klp
